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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

SECURITIES AND                                                  §
EXCHANGE COMMISSION,                                            §
                                                                §
                    Plaintiff,                                  §
                                                                §
v.                                                              §     CIVIL ACTION NO. 09-cv-1465-O
                                                                §
BRION RANDALL, 2RANDALL                                         §
CONSULTING GROUP LLC,                                           §
TITAN HOME THEATER, LLC, AND                                    §
TITAN HOME SECURITY, LLC,                                       §
                                                                §
                    Defendants.                                 §


     APPENDIX SUPPORTING MICHELLE McLELLAN’S MOTION AND BRIEF IN
      SUPPORT TO OBTAIN A COPY OF HER OWN DEPOSITION TESTIMONY


          Pursuant to the Federal Rules of Civil Procedure and the Court’s Local Rules, Movant

Michelle McLellan (“McLellan”) files this Appendix Supporting Motion and Brief in Support to

Obtain a Copy of Her Own Deposition Testimony (“Appendix”) and states as follows:

DOCUMENT                                                                                                           EXHIBIT

Declaration of Michelle McLellan..................................................................................................A


February 25, 2010 Subpoena to Michelle McLellan ......................................................................B
April 1, 2010 Correspondence from Michael A. McCabe to Karen Cook requesting
court reporter’s information who recorded Michelle McLellan’s deposition ................................C




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Dated: April 16, 2010.
                                                   Respectfully submitted,


                                               By: /s/ Michael A. McCabe
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                                                   ATTORNEYS FOR MOVANT
                                                   MICHELLE McLELLAN


                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing document has been served
on all counsel of record via CM/ECF in accordance with the Federal Rules of Civil Procedure,
on April 16, 2010.

                                                   /s/ Michael A. McCabe
                                                   Michael A. McCabe




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